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 5
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 9
                         IN THE DISTRICT COURT OF THE UNITED STATES
10

11                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

12                                   SACRAMENTO DIVISION
13

14
     UNITED STATES OF AMERICA,                 Case No. 2:08-CR-0064
15
            Plaintiff,                         STIPULATION AND
16
                                               ORDER FOR RETURN OF
17   vs.                                       PASSPORT
18   CHI KEUNG HUI,
19
                           Defendant.
20                                        /
21          Defendant Chi Keung Hui having served his sentence and having been released
22
     from custody, it is hereby stipulated by and between the parties of record that his
23
     passport should be returned to him by the Clerk of the Court. (See Dkt# 79: “09/29/2010
24

25   79 COLLATERAL RECEIVED as to Chi Keung Hui: Passport from Atty Ted Cassman,

26   H00780142. (Kastilahn, A) (Entered: 09/29/2010).”

27   Dated: February 4, 2014
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 2
                                                           /s/ Ted W. Cassman
 3                                                  TED W. CASSMAN,
                                                    Attorney for Defendant
 4                                                  CHI KEUNG HUI
 5

 6
     Dated: February 4, 2014
 7

 8
                                                              /s/ Michael Beckwith
 9                                                  MICHAEL BECKWITH,
                                                    Assistant U.S. Attorney
10

11
                                             ORDER
12
           Pursuant to ECF No. 217, Defendant Chi Keung Hui’s passport was returned to
13

14   ICE on June 17, 2013. Because the Court is no longer in possession of Defendant’s

15   passport, the Court is unable to return it. Accordingly, Defendant’s request is DENIED.
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           IT IS SO ORDERED.
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     Dated: February 12, 2014
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